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                          UNITED STATES COURT OF APPEALS
                               FOR THE THIRD CIRCUIT


 PATRICK K. DONNELLY,

                    Appellant,

        v.                                                         No. 23-1991

 PROPHARMA GROUP TOPCO, LLC,

                 Appellee.


       NOTICE OF FILING OF MOTION UNDER FEDERAL RULES OF CIVIL
                          PROCEDURE 50 AND 59


       PLEASE TAKE NOTICE that on June 8, 2023, Patrick K. Donnelly, pursuant to Federal

Rules of Civil Procedure 50 and 59, filed his Renewed Motion for Judgment as a Matter of Law,

or Alternatively for a New Trial (D.I. 258).



                                        [Signature Page Follows]
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Dated: June 13, 2023
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